









MEMORANDUM OPINION



No. 04-07-00642-CR



Dwayne PERKINS,


Appellant



v.



The STATE of Texas,


Appellee



From the 175th Judicial District Court, Bexar County, Texas


Trial Court No. 2007-CR-3064


Honorable Mary Román, Judge Presiding



PER CURIAM


Sitting: 	Catherine Stone, Justice

	Karen Angelini, Justice

	Sandee Bryan Marion, Justice


Delivered and Filed: November 14, 2007


DISMISSED

	The trial court's certification in this appeal states that the case is a "plea-bargain case, and
the defendant has NO right of appeal."  Rule 25.2(d) of the Texas Rules of Appellate Procedure
provides, "[t]he appeal must be dismissed if a certification that shows the defendant has a right of
appeal has not been made part of the record under these rules."  Tex. R. App. P. 25.2(d).  On October
31, 2007, appellant's appellate counsel notified this court that appellant does not have a right to
appeal in this case.  Counsel further indicated that appellant would not file an amended trial court
certification showing that he has the right of appeal.  See Tex. R. App. P. 25.2(d); 37.1; see also
Daniels v. State, 110 S.W.3d 174, 177 (Tex. App.--San Antonio 2003, no pet.).  In light of the
record presented, we agree with appellant's counsel that Rule 25.2(d) requires this court to dismiss
this appeal.  Accordingly, this appeal is dismissed.


							PER CURIAM

DO NOT PUBLISH


